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    In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                       Filed: September 18, 2020

* * * * * * * * * * * * *  *
LISA KNAPP,                *                               No. 17-764V
                           *                               Special Master Sanders
         Petitioner,       *
                           *                               UNPUBLISHED
v.                         *
                           *
SECRETARY OF HEALTH        *                               Attorneys’ Fees and Costs
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *

Bruce W. Slane, Law Office of Bruce W. Slane, P.C., White Plains, NY, for Petitioner;
Sarah C. Duncan, United States Dep’t of Justice, Washington, DC, for Respondent.

                 DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

        On June 8, 2017, Lisa Knapp (“Petitioner”) filed a petition for compensation pursuant to
the National Vaccine Injury Compensation Program.2 42 U.S.C. §300aa-10 et seq. (2012).
Petitioner alleged that the influenza vaccines she received on December 3, 2014, and October 12,
2015, caused her to develop Guillain-Barré syndrome, chronic inflammatory demyelinating
polyneuropathy, quadriparesis, quadriplegia, severe peripheral neuropathy, paraplegia,
rhabdomyolysis, myopathy, urinary incontinence, and respiratory failure. On December 10, 2019,




1
  The undersigned intends to post this Ruling on the United States Court of Federal Claims' website. This
means the Ruling will be available to anyone with access to the Internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this case,
the undersigned is required to post it on the United States Court of Federal Claims' website in accordance
with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion
of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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the parties filed a stipulation for award, which the undersigned adopted as her decision awarding
compensation on December 11, 2019. ECF No. 98.

        On April 30, 2020, Petitioner filed a motion for attorneys’ fees and costs. ECF No. 103
(“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of $12,929.42,
representing $12,837.40 in attorneys’ fees and $92.02 in attorneys’ costs. Fees App. at 2.3 Pursuant
to General Order No. 9, Petitioner has indicated that she has not incurred any out of pocket costs.
Id. Respondent responded to the motion on May 1, 2020, stating that Respondent “is satisfied that
the statutory requirements for an award of attorneys’ fees and costs are met in this case” and asking
the Court to “exercise its discretion and determine a reasonable award for attorneys’ fees and
costs.” Resp’t’s Resp. at 2-3, ECF No. 104. Petitioner did not file a reply thereafter.

         This matter is now ripe for consideration.

    I.        Reasonable Attorneys’ Fees and Costs

         The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e). The
Federal Circuit has approved the lodestar approach to determine reasonable attorneys’ fees and
costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1348 (Fed.
Cir. 2008). This is a two-step process. Id. First, a court determines an “initial estimate . . . by
‘multiplying the number of hours reasonably expended on the litigation times a reasonable hourly
rate.’” Id. at 1347–48 (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may
make an upward or downward departure from the initial calculation of the fee award based on
specific findings. Id. at 1348.

    It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys’ fees and
costs.”). Applications for attorneys’ fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however,
should not include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 895. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. Petitioners bear the burden of providing adequate evidence to prove
that the requested hourly rate is reasonable. Id.

         a.      Hourly Rate

         The decision in McCulloch provides a framework for consideration of appropriate ranges

3
 Petitioner was previously awarded interim attorneys’ fees and costs in the amount of $92,791.66 on
August 9, 2019.
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for attorneys’ fees based upon the experience of the practicing attorney. McCulloch v. Sec’y of
Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015–2016, 2017, 2018, 2019, and 2020 can be accessed online.4

        Petitioner requests the following hourly rates for the work of her counsel: for Mr. Bruce
Slane, $355.00 per hour for work performed in 2019 and $365.00 per hour for work performed in
2020; and for Mr. Christian Martinez, $215.00 per hour for work performed in 2019 and $225.00
per hour for work performed in 2020. Fees App. Ex. 1 at 17. These hourly rates are consistent with
what Mr. Slane and Mr. Martinez have previously been awarded for their Vaccine Program work,
and the undersigned finds them to be reasonable herein.

       b. Reasonable Number of Hours

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521 (quoting Hensley v.
Eckerhart, 461 U.S. 424, 434 (1983)).

         Upon review, the undersigned finds that a small reduction is necessary. First, paralegals
billed time on administrative tasks, such as filing documents and reviewing CMECF notifications
for documents they just filed. Second, many of the entries for communication, such as e-mails and
phone calls, do not contain enough specificity to allow the undersigned to determine their
reasonableness. Such entries should contain a brief description of the nature of the communication.

         For these reasons, the undersigned finds that five percent reduction to the requested
attorneys’ fees is reasonable. This results in a reduction of $641.87. Petitioner is therefore awarded
final attorneys’ fees of $12,195.53.

       c. Attorney Costs

         Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $92.02 in attorneys’ costs for postage. Fees App. Ex. 2. Petitioner has provided adequate
documentation of all these expenses and they appear reasonable. Petitioner is therefore awarded
the full amount of costs sought.

       II.     Conclusion

       In accordance with the Vaccine Act, 42 U.S.C. §15(e) (2012), the undersigned has
reviewed the billing records and costs in this case and finds that Petitioner’s request for fees and



4
 The OSM Fee Schedules are available at: http://www.cofc.uscourts.gov/node/2914. The hourly rates
contained within the schedules are updated from the decision in McCulloch, 2015 WL 5634323.
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costs, other than the reductions delineated above, is reasonable. Based on the above analysis, the
undersigned finds that it is reasonable to compensate Petitioner and her counsel as follows:

    Attorneys’ Fees Requested                                             $12,837.40
    (Reduction to Fees)                                                   - ($641.87)
    Total Attorneys’ Fees Awarded                                         $12,195.53

    Attorneys’ Costs Requested                                              $92.02
    (Reduction of Costs)                                                      -
    Total Attorneys’ Costs Awarded                                          $92.02

    Total Attorneys’ Fees and Costs                                       $12,287.55


       Accordingly, the undersigned awards a lump sum in the amount of $12,287.55,
representing reimbursement for Petitioner’s attorneys’ fees and costs, in the form of a check
payable to Petitioner and Petitioner’s counsel, Mr. Bruce Slane.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.5

                IT IS SO ORDERED.

                                                         s/Herbrina D. Sanders
                                                         Herbrina D. Sanders
                                                         Special Master




5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
